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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Aziz Aityahia,                                    No. CV-21-01109-PHX-SMB
10                  Plaintiff,                         JUDGMENT
11   v.
12   Westwind School of Aeronautics,
13                  Defendant.
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15          At issue is Defendant Westwind Air Service’s Request for Entry of Judgement (Doc.
16   52). On March 24, 2022, this Court entered an Order granting Defendant Westwind Air
17   Service’s Partial Motion to Dismiss (“the Order”). Pursuant to that Order, this Court
18   dismissed all of Plaintiff’s claims against Defendant Westwind Air Service. Accordingly,
19   pursuant to Federal Rule of Civil Procedure 54(b), the Court finds that there is no just
20   reason for delaying the entry of a final judgment in favor of Defendant Westwind Air
21   Service.
22          With Plaintiff’s claims against Defendant Westwind Air Service having been
23   dismissed in their entirety and with prejudice,
24          IT IS ORDERED judgment is entered in favor of Defendant Westwind Air Service
25   and against Plaintiff Aziz Aityahia.
26          Dated this 29th day of August, 2022.
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